I can only concur specially in this decision. Its plain effect, which should be freely stated, is to overrule the decision in People v. Peoria and Eastern Railway Co. 354 Ill. 30. In that case, at page 32, it is said: "Since the *Page 276 
amendment [to sections 15 and 33 of the Pauper act] such care and support, with the same exceptions, may be given not only to all persons requiring the care and support of the county but also of the township." The reference to support of poor persons by counties, in section 33 as amended in 1931, was distinctly to counties not under township organization, not involved in that case and not involved here, and covered by section 14 instead of the wholly distinct and separate section 15. To overrule an objection in that case to a $30,000 levy for maintenance of an institution in a county the size of Champaign county, and to sustain an objection here to a levy of $4000 for "support of county poor," is "straining at a gnat and swallowing a camel." A great part of the $30,000 levy in thePeoria and Eastern case could only be used for the support of paupers.